     Case 2:21-cv-06966-RGK-MAR Document 21 Filed 10/20/21 Page 1 of 2 Page ID #:69



 1

 2
                                               LINK TO [12]
 3

 4

 5

 6

 7

 8
                               UNITED STATES DISTRICT COURT
 9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
      UNITED STATES OF AMERICA,                Case No. 2:21-cv-06966-RGK(MARx)
12
                 Plaintiff,                    [PROPOSED] ORDER APPOINTING THE
13                                             UNITED STATES POSTAL INSPECTION
                       v.                      SERVICE, AS SUBSTITUTE CUSTODIAN
14                                             IN PLACE OF THE U.S. MARSHALS
      $399,000.00 IN U.S. CURRENCY             SERVICE AS TO MISCELLANEOUS ITEMS
15    AND MISCELLANEOUS ITEMS OF               OF JEWELRY
      JEWELRY,
16
                 Defendants.
17

18

19          IT IS HEREBY ORDERED that upon the arrest of the defendant,
20    Miscellaneous Precious Items, the United States Postal Inspection
21    Service, Los Angeles Division, 1055 N. Vignes Street, Los Angeles, CA
22    90012, shall assume custody of the defendant Miscellaneous Items of
23    Jewelry on behalf of this Court, in place of the United States
24    Marshals Service, and shall maintain custody of such defendant during
25    the time it remains in custodia legis, pursuant to Rule G(3)(c)(i)
26    and E(4) of the Supplemental Rules for Admiralty or Maritime Claims
27    and Asset Forfeiture Actions (“Supplemental Rules”);
28    ///
     Case 2:21-cv-06966-RGK-MAR Document 21 Filed 10/20/21 Page 2 of 2 Page ID #:70



 1          IT IS FURTHER ORDERED that, before the delivery of the defendant

 2    after such release or disposal is ordered, all costs and charges of

 3    the Court and its officers, more particularly the United States

 4    Postal Inspection Service, as Substitute Custodian, must first be

 5    paid, pursuant to Supplemental Rule E(5)(c); and

 6          IT IS FURTHER ORDERED that, as Substitute Custodian of the

 7    defendant, the United States Postal Inspection Service, shall perform

 8    all duties and responsibilities that the United States Marshals

 9    Service is authorized to perform pursuant to the Supplemental Rules.

10

11
       October 20, 2021
12    DATE                                    HONORABLE R. GARY KLAUSNER
                                              UNITED STATES DISTRICT JUDGE
13

14    Presented by:

15    TRACY L. WILKISON
      Acting United States Attorney
16    SCOTT M. GARRINGER
      Assistant United States Attorney
17    Chief, Criminal Division
      JONATHAN GALATZAN
18    Assistant United States Attorney
      Chief, Asset Forfeiture Section
19

20       /s/
      VICTOR A. RODGERS
21    MAXWELL COLL
      Assistant United States Attorneys
22    Asset Forfeiture/General Crimes Sections
      Attorneys for Plaintiff
23    UNITED STATES OF AMERICA

24

25

26

27

28
                                              2
